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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 9:24-cv-80958-XXXX

  TERCILMENE MONERA,

         Petitioner,
  v.

  EVENS DATIS,

         Respondent.
                                         /

       PETITIONER’S NOTICE OF TAKING DEPOSITION OF ROLAND ST. IVERS

         PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 30, and this
  Court’s Omnibus Order on Evidentiary Hearing and Related Motions [DE 74], Petitioner,
  Tercilmene Monera, will take the deposition of the following party on the date, time, and location
  specified below:
            Witness                      Date/Time                            Location

        Roland St. Ivers            February 28, 2025                     VIA ZOOM
                                    At 3:00 P.M. E.S.T.            LINK WILL BE PROVIDED
                                                                     BY COURT REPORTER

         The deposition shall be upon oral examination before a person authorized by law to take

  depositions in the State of Florida. The oral examination will continue from day to day until

  completed. The deponent is hereby notified to appear and take part in said examination as you may

  be advised, and as shall be fit and proper. The deposition will be taken for the purpose of discovery,

  and for use as evidence at trial or for such other purposes pursuant to Fed. R. Civ. P. 30.

  Dated: February 26, 2025                              Respectfully submitted,
                                                        HOLLAND & KNIGHT LLP
                                                 By:    s/ Suzanne Busser
                                                        DAVID IRA SPECTOR (FBN 0865401)
                                                        email: david.spector@hklaw.com
                                                        secondary email: kim.roark@hklaw.com
                                                        SUZANNE M. BUSSER (FBN 1002654)

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                                                    email: suzanne.busser@hklaw.com
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                                                    777 S. Flagler Drive, West Tower, Suite 1900
                                                    West Palm Beach, Florida 33401
                                                    Tel: (561) 833-2000

                                                    Attorneys for Petitioner



                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 26, 2025, I electronically filed the foregoing with
  the Clerk of the Court using CM/ECF system which will send a notice of electronic filing to
  counsel of record listed below.

                                              By:   s/Suzanne M. Busser
                                                    SUZANNE M. BUSSER


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  cc:    US Legal Reporting and Translation




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